UNITED S@4TES: DISTRICT COURT Sabo 1530335
STATE OF NEW YORK, EASTERN DISTRICT

Attorney: LEVIN EPSTEIN & ASSOCIATES PC
Address: 60 EAST 42ND ST., STE#4700 NEW YORK , NY 10165

ALFREDO ANDRADE SOLIS ON BEHALF OF HIMSELF AND OTHERS SIMILARLY SITUATED

IN THE PROPOSED FLSA COLLECTIVE ACTION Index Number: 1:23-CV-01707-ENV-MM

vs Plaintiff Client's File No.: solis vs. tropical

TROPICAL RESTAURANT BAR INC ET AL Court Date:
Defendant Date Filed: 03/08/2023

STATE OF NEW YORK, COUNTY OF QUEENS, SS.:
JAVON CUMMINGS, being sworn says: AFFIDAVIT OF SERVICE

Deponent is not a party herein; is over the age of 18 years and resides in the State of New York.

On 4/13/2023, at 10:01 AM at: 88-18 JAMAICA AVENUE, WOODHAVEN , NY 11424 Deponent served the within Summons in a Civil Action -
COMPLAINT - CIVIL COVER SHEET

On: 88-48 TROPICAL RESTAURANTS CORP , Defendant therein named.

BQ #1 Corporation or Partnership or Trust or LLC or Non-Profit
By delivering thereat a true copy of each to Lianna Doe personally. Deponent knew said corporation/partnership/trus/LLC/Non-Profit so served to be
the corporation/partnership/trus/LLG/Non-Profit described in said aforementioned document as said Defendant and knew said individual to be General

Agent thereof.
] #2 DESCRIPTION

Sex: Female Color of skin: Tan Calor of hair: Brown Glasses:

Age: 40-50 Height: Sft 4in - 5ft 8in Weight: 131-160 Lbs. Other Features:

[] #3 WITNESS FEES
Subpoena Fee Tendered in the amount of

CC) #4 OTHER
Sworn to before me on 04/14/2023 een 7 a
no. oNGSalSeve Gouratin case JAVON CUMMINGS
oor Term Expires, August 3, 2023 Poa Li fisg# 2036513

PREFERRED Process Servers Inc 166-06 24TH Ro, LL, Wuirestone, NY 11357 718-362-4890 Lic#2003142-DCA
